      Case 4:98-cr-40002-JPG        Document 321 Filed 02/01/10             Page 1 of 2     Page ID
                                              #241



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              ) No. 98-cr-40002-JPG
                                                 )
DEWAYNE C. ANTHONY,                              )
                                                 )
        Defendant.                               )

                                  MEMORANDUM AND ORDER

        This matter comes before the Court on defendant DeWayne C. Anthony’s motion for leave to

appeal in forma pauperis (Doc. 316) from the Court’s order dismissing for lack of jurisdiction his pro

se motions for a reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United

States Sentencing Guidelines Manual § 1B1.10 (Docs. 282 & 287).

        A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(1) & (3); Fed.

R. App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d 1025,

1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or not frivolous is

whether any of the legal points are reasonably arguable on their merits. Neitzke v. Williams, 490 U.S.

319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker v. O’Brien, 216 F.3d 626,

632 (7th Cir. 2000).

        Anthony was sentenced based on an offense level determined by his career offender status, not

his relevant conduct. His guideline range was not lowered by a subsequent amendment to the

guidelines. In light of the Seventh Circuit’s ruling in United States v. Forman, 553 F.3d 585, 589 (7th

Cir.), cert. denied, 129 S. Ct. 2817 (2009), any argument that this Court has jurisdiction to decide

Anthony’s motion is frivolous. Therefore, the Court CERTIFIES that this appeal is not taken in good
   Case 4:98-cr-40002-JPG        Document 321 Filed 02/01/10           Page 2 of 2    Page ID
                                           #242



faith and accordingly DENIES the motion for leave to proceed on appeal in forma pauperis (Doc.

316).

IT IS SO ORDERED.
Dated: February 1, 2010


                                           s/ J. Phil Gilbert
                                           J. PHIL GILBERT
                                           U.S. DISTRICT JUDGE




                                                2
